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  IT IS ORDERED as set forth below:



  Date: February 10, 2017                 ___________________________

                                                    W. Homer Drake
                                              U.S. Bankruptcy Court Judge
  _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

IN THE MATTER OF:                     :     CASE NUMBER
                                      :
DONALD GERALD JONES,                  :     16-12590-WHD
                                      :
                                      :
                                      :     IN PROCEEDINGS UNDER
                                      :     CHAPTER 13 OF THE
      Debtor.                         :     BANKRUPTCY CODE

                                     ORDER

      Before the Court is the Motion to Vacate Order filed, pro se, by Donald

Gerald Jones (hereinafter the “Debtor”) in the above-styled bankruptcy case. The

Debtor requests that the Court vacate its prior Order (Doc. No. 24) denying the

Debtor’s Motion to Extend the Stay. This is a core proceeding over which this

Court has subject matter jurisdiction. See 28 U.S.C. §§ 157, 1334.
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      The Debtor filed the instant case on December 22, 2016. As this is the

Debtor’s second case in a calendar year, he filed a motion to extend the stay as to

Caliber Home Loans, Inc. (hereinafter “Caliber”), on January 4, 2017.            See

generally 11 U.S.C. § 362(c)(3) (providing that in situations in which the debtor

has had one prior case in the last year, the automatic stay will expire after 30 days

unless the court orders otherwise after “notice and a hearing completed before the

expiration of the 30-day period”).

      On review of the Debtor’s motion, the Court determined that there was no

indication that the Debtor had served his motion on any party. Consequently, on

January 10, 2017, the Court ordered the following: “[O]n or before January 19,

2017, the Debtor shall serve his motion upon the Chapter 13 Trustee and Caliber

Home Loans, Inc., complying with the requirements of Rule 7004, and submit a

certificate of service to the Court showing that such service has been made.” (Doc.

No. 21, at 3).    The Debtor was warned that failure to serve the motion in

accordance with the Rules and the Court’s Order would subject his motion to

dismissal for failure to prosecute. (Id.). On January 23, 2017, the Debtor filed a

certificate of service showing that he served the motion on the Chapter 13 Trustee

and Caliber on January 19, 2017.
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      On January 24, 2017, the Court entered an order denying the Debtor’s

motion for want of prosecution, as the Debtor had failed to file the certificate of

service within the time allowed by the Court’s January 10th Order. On January 30,

2017, the Debtor filed the instant motion seeking to have the January 24th Order

vacated. The Debtor asserts that he was not aware that the instruction to file the

certificate with the Court by January 19th meant that the Court must have the

document in its possession by that date. The Debtor believed that placing the

certificate in the mail on the 19th was sufficient.

      Though the Debtor does not cite any authority for his motion, the Court

assumes that he is seeking relief under Federal Rule of Civil Procedure 60(b),

which applies to bankruptcy cases by operation of Federal Rule of Bankruptcy

Procedure 9024. See Fed. R. Bankr. P. 9024. Rule 60(b) provides, in pertinent

part: “On motion and just terms, the court may relieve a party or its legal

representative from a final judgment, order, or proceeding for the following

reasons: (1) mistake, inadvertence, surprise, or excusable neglect;…or (6) any other

reason that justifies relief.” Fed. R. Civ. P. 60(b). Because “[r]elief under Rule

60(b)(6) is available only ‘upon a showing of exceptional circumstances,’” the

Court concludes that the Debtor is seeking relief under (b)(1) for excusable neglect
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because the Debtor was unaware that a filing with the Court is not completed on

mailing. Allen v. Dockery, 295 F. App’x 335, 338 (11th Cir. 2008) (per curiam)

(quoting Cavaliere v. Allstate Ins. Co., 996 F.2d 1111, 1115 (11th Cir. 1993)).

       Analyzing the term “excusable neglect” in the context of Rule 9006(b), the

Supreme Court, in Pioneer Investment Services Co. v. Brunswick Associates

Limited Partnership, has held that “the determination [of excusable neglect] is at

bottom an equitable one, taking account of all relevant circumstances surrounding

the party’s omission.” Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship,

507 U.S. 380, 395 (1993). The Supreme Court singled out four factors to which

courts should give particular attention: “the danger of prejudice to the [opposing

party], the length of delay and its potential impact on judicial proceedings, the

reason for the delay, including whether it was within the reasonable control of the

movant, and whether the movant acted in good faith.” See id.; see also 10 COLLIER

ON   BANKRUPTCY § 9024.05 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.)

(footnote omitted) (“The cases interpreting ‘excusable neglect’ adopt the standard

enunciated by the Supreme Court in Pioneer Investment Services Co. v. Brunswick

Associates Limited Partnership….”)

       In the instant case, the Court finds that the Debtor’s failure to file the
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certificate of service by the deadline in the Court’s January 10th Order does not

constitute excusable neglect. The Court does so primarily due to considerations of

the third “Pioneer” factor: the reason for the delay. In Pioneer, the Supreme Court

stated that “inadvertence, ignorance of the rules, or mistakes construing the rules do

not usually constitute excusable neglect.” 507 U.S. at 392; see also Cordell v. Pac.

Indem. Co., 335 F. App’x 956, 960 (11th Cir. 2009) (per curiam).              Even an

individual proceeding pro se is expected to know and abide by the rules. See

generally Pullen v. Love (In re Pullen), 2013 WL 6000568, at *2 (Bankr. N.D. Ga.

Oct. 10, 2013) (Diehl, J.) (“[P]ro se litigants are not excused from complying with

the Federal Rules of Bankruptcy Procedure or the Court’s local rules.”).

Consequently, the Court cannot conclude that misapprehension of what it means to

“file” a document with the Court is an excusable error.          See generally In re

Wallace, 277 B.R. 351, 352 (Bankr. N.D. Ohio 2001) (“[I]t is clear that the

Bankruptcy Rules use the word ‘file’ to denote turning a document over to the

court….”).

      As the Court finds that the Debtor’s failure to file the certificate of service by

the deadline established in the Court’s order was not “excusable neglect,” the

Debtor’s Motion to Vacate Order is DENIED.
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      The Clerk is DIRECTED to serve this Order on the Debtor, Caliber, and the

Chapter 13 Trustee.

                               END OF DOCUMENT




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